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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 ABERDEEN DIVISION

SHEARSON HAUGHTON                                                                    PLAINTIFF

V.                                                  CIVIL ACTION NO. 1:20-cv-241-SA-DAS

JA-CO FOODS, INC d/b/a SONIC DRIVE-IN’S                                            DEFENDANT


      DEFENDANT JA-CO FOODS, INC.’S MOTION FOR SUMMARY JUDGMENT

           Defendant JA-Co Foods, Inc. d/b/a Sonic Drive-in’s (“Sonic” or “Defendant”), by and

through counsel of record, and respectfully moves for summary judgment, pursuant to Rule 56 of

the Federal of Civil Procedure. In support thereof, Defendant states as follows:

     1. This action arises from Plaintiff Shearson Haughton’s (“Plaintiff” or “Haughton”)

unsubstantiated hostile work environment, retaliation, and assault claims against her former

employer, Sonic.

     2.     First, Haughton’s hostile work environment claim stems from a single, uncorroborated

incident in which she alleges that as she leaned over a trashcan to retrieve a bag that fell to the

bottom of the can, Eric Ellis “humped” her as he was passing by. Sonic’s General Manager, Alesha

Gardner, spoke with all parties involved as part of her investigation of Haughton’s claims. When

Gardner spoke with Ellis, he adamantly denied Haughton’s allegations. Haughton identified only

one eye witness of the incident, J. A. J. A., however, informed Gardner that she did not witness

any inappropriate contact between Ellis and Haughton. J. A. also stated that Haughton contacted

her and demanded that she falsely testify on Haughton’s behalf. In short, Haughton cannot present

any evidence sufficient to establish the essential elements of her claims, and therefore, no genuine

issue of material fact exists.




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   3. Next, Haughton alleges that her termination was in retaliation for her sexual harassment

allegation. This claim, however, also fails as a matter of law. Sonic terminated Haughton’s

employment after Haughton erupted in an angry and threating barrage against other employees

and management, yelled profanity in front of customers and refused to leave the premises when

requested by management. Haughton’s conduct was so alarming that other Sonic employees were

concerned about their safety. Stated differently, Haughton was terminated for non-retaliatory

reasons and Haughton has no evidence to suggest otherwise.

   4. Finally, Haughton claims against Sonic alleging that it is liable for Haughton’s allegations

of assault against Ellis and other coworkers should be dismissed as a matter of law. The doctrine

of respondeat superior protects employers from the acts of its employees that do not further the

employer’s purpose. None of the alleged actions that Haughton deems was assault were done to

further Sonic’s purpose. Therefore, the assault claim fails as a matter of law.

   5. Considering the forgoing, Haughton cannot establish a genuine dispute of material fact to

support any of her claims, and accordingly, Sonic is entitled to judgment as a matter of law on

each claim.

   6. In addition to the Memorandum of Authorities in Support of its Motion for Summary

Judgment filed contemporaneously herewith, Defendant relies on the following evidentiary

material attached hereto:

   Exhibit A           Excerpts of Deposition of Shearson Haughton and referenced attachments;

                       Exhibit 9      New Hire Form;

                       Exhibit 10     Employee Acknowledgement;

                       Exhibit 11     Aberdeen Police Department Facts & Circumstances Form;

                       Exhibit 12     EEOC Charge of Discrimination;



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                Exhibit 14     Book titled Bent;

    Exhibit B          Declaration of Alesha Gardner and referenced attachments; and

                       B-1     Employee Handbook;

                       B-2     Handbook Acknowledgement;

                       B-3     Job Description;

                       B-4     Statement of J. A.;

                       B-5     Statement of Shaqueeka Randle;

                       B-6     Witness Statements;

    Exhibit C          Declaration of Paul Horn and referenced attachments;

                       C-1     Statement of Nita Howard; and

    Exhibit D          Police Report and Dismissal.

    WHEREFORE, THESE PREMISES CONSIDERED, Sonic respectfully requests, in

accordance with Rule 56 of the Federal Rules of Civil Procedure, that this Honorable Court: (1)

grant summary judgment in Sonic’s favor; (2) dismiss Plaintiff’s Complaint with prejudice in its

entirety; (3) and that this Court grant such other, further, and different relief as it deems fair and

just.

         This the 20th day of December, 2021.

                                         Respectfully submitted,

                                         JA-CO FOODS, INC. d/b/a SONIC DRIVE-IN’S,
                                         Defendant

                                    By: /s/ Robin Banck Taylor
                                        Robin Banck Taylor (MS Bar No. 100195)

                                         ITS ATTORNEY




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                                CERTIFICATE OF SERVICE

       I, Robin Banck Taylor, hereby certify that on this date I electronically filed the above and

foregoing with the Clerk of the Court using the ECF system which sent notification of such filing

to the following:

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       ATTORNEYS FOR PLAINTIFF

       This, the 20th day of December, 2021.

                                                     /s/ Robin Banck Taylor
                                                     Robin Banck Taylor




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